Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 1 of 14 PageID 215




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 JAMES COOKSEY,

 Plaintiff,

 v.                                            Case No. 8:23-cv-00046-SCB-MRM
 EXPERIAN INFORMATION
 SOLUTIONS INC, EQUIFAX
 INFORMATION SERVICES LLC,
 TRANS UNION LLC, AND
 HEALTHCARE REVENUE
 RECOVERY GROUP LLC D/B/A
 ACCOUNT RESOLUTION SERVICES,

 Defendants.


            EXPERIAN INFORMATION SOLUTIONS, INC.’S
          MOTION FOR JUDGMENT ON THE PLEADINGS AND
           MEMORANDUM OF LAW IN SUPPORT THEREOF

       Defendant Experian Information Solutions, Inc. (“Experian”) files this

 Motion for Judgment on the Pleadings and Memorandum of Law in Support

 Thereof (the “Motion”), and in support respectfully states as follows:

                             I.    INTRODUCTION

       Plaintiff James Cooksey’s (“Plaintiff”) claims against Experian fail as a

 matter of law because he has not—as he cannot—allege a factual inaccuracy on his

 credit report as it relates to three collections accounts concerning a purported

 work-related injury.    Plaintiff does not dispute that the underlying debts

 themselves are factually inaccurate, that they were not made in connection with

 services rendered to Plaintiff, or that the amounts actually reported by Experian
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 2 of 14 PageID 216




 were incorrect. Instead, Plaintiff disputes that it is ultimately not his responsibility

 to pay on the accounts through some kind of legal defense Plaintiff claims is found

 in Florida’s workers’ compensation laws. That is quite obviously a legal—not

 factual—dispute, which consumer reporting agencies (“CRAs”), such as Experian,

 are not equipped or required to resolve.

       Multiple courts have held that determining a debt’s validity and whether a

 consumer has a valid legal defense to a debt is an issue for a court to resolve, not an

 obligation imposed upon CRAs. Because Plaintiff merely pleads a legal dispute

 concerning the underlying debt, rather than a factual inaccuracy in the reporting,

 Plaintiff’s claims fail as a matter of law. Accordingly, Plaintiff’s Complaint fails to

 state a claim upon which relief can be granted and the Court should enter judgment

 in favor of Experian and against Plaintiff on the pleadings.

                         II.    FACTUAL BACKGROUND

       Plaintiff filed this action asserting claims that Experian negligently and/or

 willfully violated the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the

 “FCRA”). (Doc. No. 1, ¶¶ 77–96). Plaintiff’s claims against Experian relate to three

 purported “Gulf to Bay Anesthesia Associates” accounts created in connection with

 medical treatment Plaintiff received after an alleged work-related injury. (Id., ¶¶

 9–10). Eventually, these three accounts were transferred to Healthcare Revenue

 Recovery Group LLC d/b/a Account Resolution Services (“ARS”), which later

 allegedly attempted to collect on the outstanding debts. (Id., ¶¶ 18–29).

       Plaintiff alleges that on October 12, 2022, he sent a written dispute to



                                          -2-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 3 of 14 PageID 217




 Experian concerning the three ARS accounts. (Id., ¶ 35). Plaintiff claims that he

 “informed Experian” that the three accounts “were not Plaintiff’s financial

 responsibility and that Plaintiff’s employer was responsible for paying” on them.

 (Id.) (emphasis added). Plaintiff’s legal theory appears to rely exclusively on a “see

 generally” citation to Florida Statutes Section 440.13, which Plaintiff contends

 stands for the following legal proposition: “An employee is shielded from liability

 in any dispute between the employer or carrier and health care provider regarding

 reimbursement for the employee’s authorized medical or psychological

 treatment.” (Id., ¶ 140). Plaintiff alleges that Experian continues to report the

 accounts inaccurately because they are not his legal responsibility. (Id., ¶¶ 36–46).

                           III.   LEGAL STANDARDS

       A Rule 12(c) motion for judgment on the pleadings is treated the same as a

 Rule 12(b)(6) motion to dismiss for failure to state a claim. Strategic Income Fund

 v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293, 1295 n.8 (11th Cir. 2002).

 Dismissal pursuant to Rule 12(c) is appropriate “when there are no material facts in

 dispute, and judgment may be rendered by considering the substance of the

 pleadings and any judicially noticed facts.” Horsley v. Rivera, 292 F.3d 695, 700

 (11th Cir. 2002). When reviewing a Rule 12(c) motion, the court accepts “all facts

 alleged in the complaint as true and construe[s] the allegations in the light most

 favorable to the plaintiff.” Hart v. Hodges, 587 F.3d 1288, 1290 n.1 (11th Cir. 2009).

 Moreover, motions for judgment on the pleadings are permitted after the pleadings

 are closed. Perez v. Wells Fargo N.A., 774 F. 3d 1329, 1336 (11th Cir. 2014). The



                                         -3-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 4 of 14 PageID 218




 pleadings are closed for the purposes of Rule 12(c) once a complaint and answer

 have been filed, assuming that no counterclaim or crossclaim is made. Id.

        In considering a 12(b)(6) or 12(c) motion, the court should accept all well-

 pleaded facts in the Complaint as true and draw all inferences in the plaintiff’s

 favor. Craft v. Olszewski, 428 F. App’x 919, 921 (11th Cir. 2011). However, the

 “duty to liberally construe a plaintiff’s complaint in the face of a [motion for

 judgment on the pleadings] is not the equivalent of a duty to re-write it for the

 plaintiff.” Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 960 (11th Cir. 2009)

 (quotations omitted). “[C]onclusory allegations, unwarranted deductions of facts

 or legal conclusions masquerading as facts will not prevent dismissal.” Oxford

 Asset Mgmt. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

             IV.    ARGUMENT AND CITATION OF AUTHORITY

 A.     Plaintiff’s Claims Fail As a Matter of Law Because He Has Not Pled
        a Factual Inaccuracy.

        A plaintiff fails to state a claim as a matter of law under the FCRA where he

 or she raises a legal issue, rather than alleging a factual inaccuracy. See Batterman

 v. BR Carroll Glenridge, LLC, No. 829 F. App’x 478, 481 (11th Cir. Oct. 7, 2020);

 Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 891 (9th Cir. 2010); Saunders

 v. Branch Banking & Trust Co.of Va., 526 F.3d 142, 150 (4th Cir. 2008) (“Claims

 brought against CRAs based on a legal dispute of an underlying debt raise concerns

 about ‘collateral attacks’ because the creditor is not a party to the suit . . . .”); Cahlin

 v. Gen. Motors Acceptance Corp., 936 F.2d 1151, 1160 (11th Cir. 1991); Pittman v.

 Experian Info. Solution, Case No. 3:21-cv-554-BJD-MCR, 2021 WL 7501143, at *1


                                            -4-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 5 of 14 PageID 219




 (M.D. Fla. Oct. 27, 2021), report and recommendation adopted, No. 3:21- cv-554-

 BJD-MCR, 2021 WL 7501141, at *1 (M.D. Fla. Nov. 19, 2021) (“The Eleventh

 Circuit and other circuit courts have held that the alleged inaccuracy must be a

 factual one.”) (citations omitted); Batterman v. BR Carroll Glenridge, LLC, No.

 1:19-cv-1598-CC-RDC, 2020 WL 1821322, at *6 (N.D. Ga. Apr. 10, 2020), aff’d,

 829 F. App’x 478 (11th Cir. 2020); Prianto v. Experian Info. Sols., Inc., Case No.

 13-cv-03461-THE, 2014 WL 3381578, at *5–8 (N.D. Cal. Jul. 10, 2014) (stating

 “Experian is not ‘equipped to adjudicate’ the legal dispute between Plaintiff and

 Heritage, assess whether the Heritage loan is in fact subject to section 580b, and

 whether Plaintiff may successfully invoke the anti-deficiency defense in the

 absence of an actual lawsuit by Heritage to collect upon its loan . . . .”).

       Examples of a true factual inaccuracy include “inaccuracies in an account

 balance, tradelines items not immediately removed once a debt is vacated,

 inaccurately updated loan terms, or when the consumer denies having opened an

 account.” Baldeosingh v. Trans Union, LLC, No. 8:20-cv-925- WFJ-JSS, 2021 WL

 1215001, at *3 (M.D. Fla. Mar. 31, 2021). CRAs, however, are not able to adjudicate

 legal disputes between a consumer and a furnisher of information as to the validity

 or responsibility of a debt. See, e.g., Carvalho v. Equifax Info. Servs., LLC, 629

 F.3d 876, 891 (9th Cir. 2010) (stating that “credit reporting agencies are not

 tribunals” and that “courts have been loath to allow consumers to mount collateral

 attacks on the legal validity of their debts in the guise of FCRA reinvestigation

 claims”). This is so because the furnisher of information “stands in a far better



                                           -5-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 6 of 14 PageID 220




 position to make a thorough investigation of a disputed debt than the CRA does on

 reinvestigation.” Id. at 892; see also Humphrey v. Trans Union LLC, 759 F. App’x

 484, 488 (7th Cir. 2019) (“Because Humphrey’s complaint did not allege a factual

 inaccuracy on his credit report, the district court correctly granted the CRAs’ joint

 motion for judgment on the pleadings. Humphrey’s allegation that he was not

 required to make payments on his student loans required a legal determination

 about whether his disability-discharge applications required Navient to cease

 collections.”); Perry v. Toyota Motor Credit Corp., Case No. 1:18CV00034, 2019

 WL 332813, at *5 (W.D. Va. Jan. 25, 2019) (dismissing FCRA claims under 15 U.S.C.

 §§ 1681e(b) and 1681i for failure to state a claim and stating that “[t]he proper

 resolution of a legal defense to payment of the debt is not generally the kind of

 error that a CRA could discover or resolve through a review of information from

 consumers, furnishers, or its own files . . . .”); Denan v. Trans Union LLC, No. 18 C

 5027, 2019 WL 911270, at *2 (N.D. Ill. Feb. 22, 2019) (granting motion for

 judgment on the pleadings because plaintiffs’ FCRA claims indicated that

 plaintiffs were trying to hold CRA responsible for resolving legal question of

 whether loans were void and uncollectible pursuant to state usury law).

       The crux of Plaintiff’s theory against Experian is that Experian violated the

 FCRA because Plaintiff informed Experian that he was not “financially responsible

 for repayment” on the accounts. (Doc. No. 1, ¶ 30). He alleges that pursuant to

 Florida Statute Section 440.03, an employee is not responsible for payment on

 workers’ compensation-related injuries and therefore Experian continuing



                                         -6-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 7 of 14 PageID 221




 reporting the three ARS accounts violates the FCRA. (Id., ¶¶ 30, 31, 35, 45). In

 other words, Plaintiff alleges that Experian violated the FCRA by failing to adopt

 Plaintiff’s legal positions regarding his liability for the underlying debt under Florida

 law.

        No matter how many pages in response Plaintiff uses to advance legal

 arguments on what the Florida Statutes mean, and why Experian is precluded from

 continuing to report on the underlying debts in light of those state laws, that is

 exactly the point: Experian is not responsible for resolving those kinds of disputes

 in the first instance, and therefore there can be no FCRA liability for Experian in

 such a scenario. To hold otherwise would be entirely inconsistent with the case law

 within this Circuit and beyond, which provides that CRAs are not required to decide

 legal issues. As other judges within this very District have held, “[d]etermining a

 debt’s validity and whether a consumer has a valid defense to a debt are

 ‘question[s] for a court to resolve in a suit against the [creditor,] not a job imposed

 upon consumer reporting agencies by the FCRA.’” Baldeosingh, 2021 WL 1215001,

 at *3 (citing Carvalho, 629 F.3d at 892).

 B.     Plaintiff’s Dispute Constitutes an Improper Collateral Attack.

        Since Plaintiff’s dispute to Experian was entirely legal in nature, it

 constitutes an improper collateral attack on the underlying debt, which Experian

 is neither equipped nor required under the FCRA to resolve. In Carvalho, for

 example, the Ninth Circuit noted that “reinvestigation claims are not the proper

 vehicle for collaterally attacking the legal validity of consumer debts.” 629 F.3d at



                                           -7-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 8 of 14 PageID 222




 891. In that case, the allegedly inaccurate reporting involved a charge for medical

 services that the plaintiff claimed should have been paid by her insurance

 company.     Id. at 882.    After the plaintiff disputed the charge, several CRAs

 requested and received verification of the debt from the furnisher, and thereafter

 continued reporting the debt. Id. In rejecting the plaintiff’s argument that the

 CRAs were obligated to do more, the Ninth Circuit found that “[t]he fundamental

 flaw in Carvalho’s conception of the reinvestigation duty is that the consumer

 reporting agencies are not tribunals.” Id. at 891. The Ninth Circuit reasoned that

 CRAs “simply collect and report information furnished by others” and thus, are “ill

 equipped to adjudicate contract disputes.” Id. For that reason, “courts have been

 loath to allow consumers to mount collateral attacks on the legal validity of their

 debts in the guise of FCRA reinvestigation claims.” Id.

       The Carvalho analysis has been adopted in the Eleventh Circuit to dismiss

 FCRA claims premised on a CRA’s failure to adopt the consumer’s legal position as

 to the validity of a debt. In Batterman, the district court granted the CRAs’ motion

 to dismiss because the plaintiff’s dispute concerning a liquidated damages

 provision under an apartment lease agreement “center[ed] on the validity of the

 underlying debt and not a factual inaccuracy included on his credit reports.” 1

       1  The Batterman court also rejected the magistrate judge’s unwillingness to apply
 the persuasive case law cited by the CRAs, specifically DeAndrade v. Trans Union LLC,
 523 F.3d 61, 66-68 (1st Cir. 2008), simply because the cases disposed of the claims at the
 summary judgment stage, rather than through a motion to dismiss or motion for
 judgment on the pleadings. See Batterman, 2020 WL 1821322, at *6 (holding “this Court
 is of the opinion that FCRA claims alleged in a complaint that are obviously a collateral
 attack on the validity of a debt are due to be dismissed at the pleadings stage, as those
 claims necessarily would fail at the summary judgment stage.”).


                                           -8-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 9 of 14 PageID 223




 Batterman, 2020 WL 1821322, at *6. The court held:

              Determining whether the consumer has a valid defense,
              for example, is a question for a court to resolve in a suit
              against the [creditor,] not a job imposed upon consumer
              reporting agencies by the FCRA. Nor is a CRA obligated
              not to report any information about the disputed item
              simply because the consumer asserts a legal defense. The
              very economic purpose for credit reporting companies
              would be significantly vitiated if they shaded every credit
              history in their files in the best possible light for the
              consumer.

 Id. at *5 (quoting Carvalho, 629 F.3d at 892; Cahlin, 936 F.2d at 1158) (internal

 quotations omitted).

       The Batterman court also held that any reinvestigation to resolve the legal

 dispute would have forced the CRAs to confront and solve legal questions,

 including whether plaintiff’s home became uninhabitable such that he did not owe

 liquidated damages. Id. at *3.

       Similarly, in Padgett v. Clarity Services, Inc., Case No. 8:18-cv-1918-T-

 30CPT, 2018 WL 6628274 (M.D. Fla. Dec. 13, 2018), the plaintiff acquired a loan

 from an online lender that issued loans to consumers subject only to the lending

 laws of the tribe. Id., at *1. The plaintiff later sued the CRA for reporting the debt,

 alleging the underlying loan was “void and uncollectible” under state usury laws.

 Id. The Court, however, held the plaintiff failed to state a claim:

              If the Court permitted this lawsuit to continue, the Court
              would have to first determine the legality of Padgett’s
              loan and then make a determination as to whether [the
              CRA] should have anticipated – through its own
              independent research of Florida law – that a court of law
              would have declared the loan invalid. Placing such a high
              burden on a CRA is unsupported under the law . . . .


                                          -9-
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 10 of 14 PageID 224




              In sum, Padgett’s FCRA claims fail because she does not
              adequately allege that the disputed debt was inaccurate.
              Her “inaccuracy” allegations are premised on a legal
              conclusion that her loan is uncollectible. This artful
              pleading tactic fails because it would place the burden on
              CRAs . . . to resolve the legal dispute about the underlying
              debt’s validity before reporting the debt. But whether a
              debt is enforceable is a matter of law that can be resolved
              only in court.

 Id. at *4.

        In Schuh v. American Express Bank, FSB, Case No. 17-24345-CIV, 2018 WL

 3751467 (S.D. Fla. May 3, 2018), the plaintiff sued the CRAs for continuing to

 report a debt after the underlying creditor’s state court lawsuit was dismissed for

 failure to timely submit a mediation form to the court. Id., at *1. Analyzing the

 plaintiff’s claims against the CRAs, the court held:

              [W]e find that the factual inaccuracies alleged are “at best
              a legal defense to the debt, not a factual inaccuracy in [the
              CRAs’] reporting,” . . . and therefore cannot form the
              basis of a Section 1681e(b) or 1681i violation . . . .

              Even if we accept as true Plaintiff’s position that the
              underlying debt is unenforceable because of the state
              court Dismissal Order, she has still failed to state a FCRA
              claim because “CRAs are not qualified to resolve such
              legal issues, nor are they required to under the FCRA.”

 Id. at *4 (internal citations omitted).

        Plaintiff’s claims here against Experian are the precise type of collateral

 attack, which cases like Carvalho, Batterman, Baldeosingh, Padgett, Schuh, and

 others, continue to reject within this Circuit and throughout the country. Plaintiff’s

 FCRA claims are entirely premised on the idea that Experian should not have



                                           - 10 -
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 11 of 14 PageID 225




 reported the three ARS accounts due to the legal effect of Florida Statute Section

 440.13. But, as shown through the foregoing authorities, Experian is not required

 to (i) research, understand, and interpret Florida state workers’ compensation

 laws, (ii) assess and apply this state law to Plaintiff’s dispute letter, and (iii)

 interpret the effect of Florida Statute Section 440.13 as to the legal validity of

 Plaintiff’s underlying debts. These are not factual inaccuracies that CRAs are

 required or obligated to interpret under the FCRA. The only alleged inaccuracy

 contained in Plaintiff’s Complaint is based on legal contentions, which may only

 be dissected by making legal interpretations and conclusions regarding the

 reported debts and the legal effect of Florida state workers’ compensation laws.

 Thus, Plaintiff’s FCRA claims against Experian constitute an impermissible

 collateral attack, and Experian is entitled to judgment on the pleadings.

 C.    Plaintiff Will Be Unable to Provide the Court with a Single FCRA
       Authority Accepting Plaintiff’s Legal Theory

       Experian anticipates that in response to this Motion Plaintiff will refer the

 Court to various case law, which Plaintiff believes support his legal theory that

 whenever a person notifies a credit reporting agency that he or she is disputing a

 debt pursuant to Florida state workers’ compensation law, a CRA automatically

 violates the FCRA if it continues to report on those accounts. The problem with

 Plaintiff’s response, however, will be that none of the authorities he provides to the

 Court will be FCRA cases—they will all be Fair Debt Collection Practices Act, 15

 U.S.C. § 1692, et seq. (“FDCPA”) cases.




                                         - 11 -
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 12 of 14 PageID 226




       One reason this will happen is because there is not a single reported case—

 at least that Experian is aware of—imposing FCRA liability on a CRA under the

 factual scenario Plaintiff alleges here. A second reason this will happen is because,

 unlike the FDCPA, the FCRA is not a strict liability statute. Compare Ferguson v.

 Credit Mgmt. Control, Inc., 140 F. Supp. 2d 1293, 1297 (M.D. Fla. 2001) (“The

 FDCPA is a strict liability statute.”), with Daniels v. Experian Info. Solutions, Inc.,

 No. CV 109–017, 2009 WL 1811548, at *1 (S.D. Ga. June 24, 2009) (stating “the

 FCRA does not impose strict liability . . . .”). The third reason this will happen is

 because the FDCPA explicitly requires entities called “debt collectors,” which

 Experian is not, to actually make legal determinations about the underlying debts

 those entities are collecting. See FDCPA, 15 U.S.C. § 1692e(2)(A) (prohibiting

 “[t]he false representation of . . . the character, amount, or legal status of any

 debt.”) (emphasis added).       As set forth above, the FCRA imposes no such

 obligations on CRAs. And Plaintiff is not advancing—because he cannot—a FDCPA

 claim against Experian.

       In short, Plaintiff’s anticipated reliance on FDCPA cases will only further

 demonstrate why his FCRA claims here are legally infirm. 2




       2 The same analysis applies to any Florida Consumer Collections Practices Act, Fla.
 Stat. § 559.55 et seq. (“FCCPA), cases Plaintiff refers the Court to in response to this
 Motion. The FCCPA, described by courts as the “Florida analogue to the FDCPA,”
 concerns debt collection, not credit reporting. See, e.g., Padilla v. Bus. Law Grp., P.A.,
 No. 14-24687-CIV, 2015 WL 11217226, at *2 (S.D. Fla. Apr. 8, 2015) (stating the FCCPA
 was enacted “to eliminate abusive practices in consumer debt collection.”).


                                           - 12 -
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 13 of 14 PageID 227




                              V.     CONCLUSION

       WHEREFORE, Defendant Experian Information Solutions, Inc. respectfully

 requests that this Court grant its Motion for Judgment on the Pleadings and

 Memorandum of Law in Support Thereof, enter judgment in favor of Experian and

 against Defendant on Plaintiff’s Complaint, and for any additional relief the Court

 deems just and proper.

       Respectfully submitted this 3rd day of March, 2023.

                                        /s/ Grant Edward Lavelle Schnell
                                       Grant Edward Lavelle Schnell
                                       Florida Bar No. 108109
                                       JONES DAY
                                       1221 Peachtree Street N.E., Suite 400
                                       Atlanta, Georgia 30361
                                       Phone: (404) 581-8023
                                       Email: gschnell@jonesday.com

                                       Attorney for Defendant Experian
                                       Information Solutions, Inc.




                                       - 13 -
Case 8:23-cv-00046-SCB-MRM Document 30 Filed 03/03/23 Page 14 of 14 PageID 228




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 3, 2023, I electronically filed a true and

 correct copy of the foregoing document with the Clerk of the Court by using the

 CM/ECF system, which will send notice of electronic filing to all parties at the

 email addresses on file with the Clerk of Court.


                                       /s/ Grant Edward Lavelle Schnell
                                       Grant Edward Lavelle Schnell
                                       Florida Bar No. 108109

                                       Attorney for Defendant Experian
                                       Information Solutions, Inc.




                                        - 14 -
